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                       IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                                    INDICTMENT

         Plaintiff,                            Count 1: 21 U.S.C. § 841(a)(l), Possession
                                               of Methamphetamine with Intent to
         vs.                                   Distribute ( >50 grams)
                                               Count 2: 18 U.S.C. § 922(g)(l), Felon in
  JUSTIN MICHAEL VANDERWOUDE,                  Possession of Firearms
  and
  DANA JEAN STEELE,

                                                   Case: 1:21-cr-00073
         Defendants.
                                                   Assigned To: Shelby, Robert J.
                                                   Assign. Date: 6/9/2021

       The Grand Jury charges:

                                      COUNT!
                                 21 U.S.C. § 841(a)(l)
                (Possession ofMethamphetamine with Intent to Distribute)

       On or about January 28, 2021 in the District of Utah,

        JUSTIN MICHAEL VANDERWOUDE and DANA JEAN STEELE,

defendants herein, did knowingly and intentionally possess with intent to distribute fifty

(50) grams or more ofMethamphetamine (actual), a Schedule II controlled substance

within the meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 84l(a)(l)
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and punishable pursuant to 21 U.S.C. § 84l(b)(l)(A).

                                       COUNT2
                                  18 U.S.C. § 922(g)(l)
                            (Felon in Possession of Firearms)

       On or about January 28, 2021, in the District of Utah,

                                DANA JEAN STEELE,

defendant herein, knowing she had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed firearms, to wit: a

Taurus 9mm handgun, Armscor 3 8 revolver, a Molot rifle, and a Romarm/Cugir rifle, and

the firearms were in and affecting commerce, all in violation of 18 U.S.C. § 922(g)(l).



                                         A TRUE BILL:



                                         FOREPERSON OF THE GRAND JURY


ANDREA T. MARTINEZ
Acting United States Attorney




NATHAND.LYON




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